      Case 2:13-cr-00300-GEB Document 416 Filed 06/08/18 Page 1 of 3


1

2

3

4

5                         UNITED STATES DISTRICT COURT

6                       EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,              No.   2:13-cr-300-GEB
9                  Plaintiff,               ORDER STRIKING REQUEST FOR AN
                                            ORDER TO SHOW CAUSE WHY PERSONS
10        v.                                SHOULD NOT BE CHARGED IN CIVIL
                                            PROCEEDINGS
11   JOHN MAHAN, ET AL.,
12                 Defendants.
13

14

15             On April 12, 2018, Pro Se Defendant Richard Hemsley

16   filed a “Motion: Order to Show Cause.”                   ECF. No. 398.      Mr.

17   Hemsley   states   in     the     motion   that    “18    U.S.C.   §    3148(b)

18   unequivocally calls for the A.U.S.A to file a motion to initiate

19   the proceeding for revocation of an order of release,” and that

20   proceedings   in   this    case    have    been   “procedurally    incorrect”

21   because the court ordered the issues calendared upon notice by

22   Pretrial Services; hence Mr. Hemsley states he “therefore moves

23   this court to order the offending persons involved to show cause

24   as to why they should Not be charged in civil proceedings . . . ”

25   Motion at 2 of 4, line 28 and 3 of 4, lines 21-24.

26             18 U.S.C. § 3148(b) prescribes: “The attorney for the

27   Government may initiate a proceeding for revocation of an order

28   of release by filing a motion with the district court.”                At least
                                            1
      Case 2:13-cr-00300-GEB Document 416 Filed 06/08/18 Page 2 of 3


1    one   district        judge,      in    affirming    a    magistrate         judge’s   order,

2    explicitly agreed with the argument Mr. Hemsley raises in his

3    motion.     Specifically, in United States v. Herrera, the district

4    judge affirmed an order of the magistrate judge dismissing a

5    petition of a pretrial services officer for action on conditions

6    of    pretrial        release,         finding   that     the    releasee’s        argument

7    “present[ed] the question [of apparent first impression] whether

8    the   attorney        for    the       government    alone   has       the    authority   to

9    initiate a proceeding for revocation of an order of pretrial

10   release.”       29 F. Supp. 2d 756, 757 (N.D. Tex. 1998).                         The judge

11   stated in Herrera: “Neither the government nor the court has

12   located any precedent that dictates the answer to the question

13   whether a pretrial services officer may initiate a proceeding to

14   revoke    an    order       of   release     under    §   3148(b),”       and    ultimately

15   opined that “the court must uphold Congress’ clear intent and

16   conclude       that    §    3148(b)       permits    only    the       attorney    for    the

17   government to initiate a proceeding for revocation of a release

18   order.”    Id. at 758-59.

19                  However, the decision in United States v. Roland, No.

20   1:05MJ111, 2005 WL 2318866 (E.D. Va., Aug. 31, 2005), answered
21   the same question contrary to Herrera, “hold[ing] that it may

22   initiate       a      proceeding,         independently         from     the     Government

23   attorney, for revocation of release and an order of detention

24   when U.S. Pretrial Services informs the Court, by petition, of an

25   alleged violation.”              Roland, 2005 WL 2318866, at *2.

26                  Roland explicitly declined to follow Herrera, stating:
27                  In defining “may” as discretionary, Congress
                    did not mean that “only the government may
28                  move to initiate” a proceeding to sanction a
                                         2
      Case 2:13-cr-00300-GEB Document 416 Filed 06/08/18 Page 3 of 3


1                defendant with a revocation of release and an
                 order of detention. Rather, a holistic
2                reading of Section 3148 provides that the
                 government, like the judicial officer, has
3                the   discretion   to   initiate   a   release
                 revocation proceeding. Indeed, considering
4                the Bail Reform Act of 1984 generally,
                 Congress has granted to the court absolute
5                control   over   the  pretrial   behavior   of
                 defendants on release pending trial: “The
6                judicial officer may at any time amend the
                 [release] order to impose additional or
7                different conditions of release.” 18 U.S.C. §
                 3142(c)(3). For these reasons, the Court
8                holds that a judicial officer has the
                 inherent authority to initiate a release
9                revocation proceeding to sanction a defendant
                 with a revocation of release and an order of
10               detention based on the plain language of
                 Section 3148.
11

12   Id. at *8.    The analysis in Roland is correct, and the revocation

13   procedures in this case were not procedurally deficient.

14               Further,     Mr.   Hemsley       has      not    provided   authority

15   supporting his request that an order issue to those persons he

16   characterizes    as    “offending     persons      involved    [in   the     matters

17   about which he complains in the motion that requires the persons]

18   to   show    cause    why   they    should      Not     be   charged    in     civil

19   proceedings.”    Mot. at 3.        Therefore, the motion is stricken.

20               Dated:     June 7, 2018

21

22

23

24

25

26
27

28
                                            3
